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          Exhibit A
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                                                                              Electronically Filed
                                                                              4/14/2022 10:15 AM
                                                                              Steven D. Grierson
                                                                              CLERK OF THE COURT

1    ACOMP
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7                                             DISTRICT COURT

8                                      COUNTY OF CLARK, NEVADA

9

10    MARIA QUEZADA, an individual;                          Case No. A-22-849356-C
                                                             Dept. No. 14
11                        Plaintiff,
                                                             AMENDED COMPLAINT
12    vs.
      CARDENAS MARKETS, LLC, a Domestic
13    Limited Liability Company; DOES I-X,
      inclusive; and ROE CORPORATIONS I-X,
14    inclusive;

15                        Defendants.

16          Plaintiff complains of Defendants, and each of them, and for cause of action, alleges:

17                                       GENERAL ALLEGATIONS

18          1.      Plaintiff, MARIA QUEZADA, is and at all times relevant herein, was, a resident

19   of the County of Clark, State of Nevada.

20          2.      That at all times herein mentioned Defendants, CARDENAS MARKETS, LLC, a

21   domestic limited liability corporation; DOES 1 to 10, inclusive; and ROE CORPORATIONS 1

22   to 10; inclusive and each of them, are, and at all relevant times mentioned herein were,

23   corporations, limited liability companies, joint ventures, business entities, trusts, partnerships,

24   and/or individuals, all with their principal place of business in the County of Clark, State of

25                                                             1


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1    Nevada.

2            3.     Whereas Defendants, CARDENAS MARKETS, LLC, DOES 1 to 10, inclusive

3    and ROE CORPORATIONS 1 to 10, inclusive and each of them, are in casino and hotel business

4    for profit.

5            4.     That the above-entitled Court is the proper Court for this action because the injury

6    to the Plaintiff occurred within the jurisdiction of said Court.

7            5.     The true names and capacities of Defendants referred to herein as Does 1 to 10,

8    inclusive, and Roe 1 to 10, inclusive and each of them, are unknown to Plaintiff at this time and

9    Plaintiff is informed and believes and herein alleges they are in some way responsible for the

10   damages incurred herein. Plaintiff will amend this Complaint to allege the true names and

11   capacities when ascertained.

12           6.     Plaintiff is informed and believes and herein alleges that, at all material times, each

13   of the Defendants were the agents, servants, directors, managers, or employees of the co-

14   defendants, and in doing the things herein alleged were acting in an agency, managerial or

15   employment capacity within the course and scope of their authority, whose acts and conduct

16   herein alleged were with the permission and consent of the co-defendants.               Each of the

17   Defendants’ actions and conduct were known to, authorized and ratified by the co-defendants.

18   Plaintiff is informed and believes and herein alleges, all the conduct by the individual Defendants,

19   which was not outside the scope of their authority, was known to, authorized by, and ratified by

20   the co-defendants.

21           7.     Plaintiff is further informed, believes, and herein alleges that each Defendant

22   designated herein as a DOE or ROE defendant, was responsible, negligently, or in some other

23   actionable manner, for the events and happenings referred to herein, which proximately caused

24   injury and damages to Plaintiff, as hereinafter alleged.

25                                                          2


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1                                     FIRST CAUSE OF ACTION
                                      (Negligence – All Defendants)
2
            8.      Plaintiff repeats, re-alleges, and incorporates by reference herein, each and every
3
     allegation contained in Paragraphs 1 through 7 as though fully set forth herein.
4
            9.      On or about April 26, 2021, (hereinafter referred herein as the “Subject Date”),
5
     Plaintiff. MARIA QUEZADA, was a guest and lawfully on the premises of Defendant,
6
     CARDENAS MARKETS, LLC, located at or near 4421 E. Bonanza Road, Las Vegas, Nevada,
7
     which was owned, managed, operated, controlled, inspected, maintained, cleaned, repaired,
8
     guarded, supervised, regulated and/or secured by Defendants, CARDENAS MARKETS, LLC,
9
     DOES 1 to 10, inclusive and ROE CORPORATIONS 1 to 10, inclusive and each of them
10
     (hereafter referred herein as “Subject Premises”, “Subject Location”, “Subject Property” and/or
11
     “Defendants’ Premises”).
12
            10.     On the Subject Date the Plaintiff, MARIA QUEZADA, slipped and fell due to
13
     peanut shells being on the floor constituting an unsafe condition at Defendant, CARDENAS
14
     MARKETS, LLC.
15
            11.     Defendants, CARDENAS MARKETS, LLC, DOES 1 to 10, inclusive and ROE
16
     CORPORATIONS 1 to 10, inclusive and each of them, had a duty towards guests on their
17
     premises to maintain the Subject Premises in a safe condition, warn of known dangers, and
18
     remedy dangers once they are known.
19
            12.      Defendants, CARDENAS MARKETS, LLC, and DOES 1 to 10, inclusive and
20
     ROE CORPORATIONS 1 to 10, inclusive were aware, or should have been aware that the area
21
     where the incident occurred contained a dangerous condition. Defendants knew or should have
22
     known that the area was unsafe and undertaken to warn, protect, clean, repair, or otherwise protect
23
     Plaintiff and other members of the public from this known danger.
24
            13.     As a direct and proximate cause of said Defendants’ and each of their, negligent
25                                                        3


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1    acts and/or omissions, as alleged herein above Plaintiff, MARIA QUEZADA, suffered severe and

2    permanent physical and bodily injuries, received medical treatment for her injuries and damages.

3                                     SECOND CAUSE OF ACTION
                                    (Premises Liability – All Defendants)
4
            14.     Plaintiff repeats, re-alleges, and incorporates by reference herein, each and every
5
     allegation contained in Paragraphs 1 through 13 as though fully set forth herein.
6
            15.     Defendants, CARDENAS MARKETS, LLC, DOES 1 to 10, inclusive and ROE
7
     CORPORATIONS 1 to 10, inclusive and each of them are the owner of, or in control of the
8
     Subject Premises.
9
            16.     On or about April 26, 2021, Plaintiff, MARIA QUEZADA, was lawfully on the
10
     property of the Subject Premises that was owned, managed, operated, controlled, inspected,
11
     maintained, cleaned, repaired, guarded, supervised, regulated and/or secured by Defendants,
12
     CARDENAS MARKETS, LLC, DOES 1 to 10, inclusive and ROE CORPORATIONS 1 to 10,
13
     inclusive, and each of them.
14
            17.     On the Subject Date Defendants, CARDENAS MARKETS, LLC, DOES 1 to 10,
15
     inclusive and ROE CORPORATIONS 1 to 10, inclusive and each of them negligently owned,
16
     maintained, controlled, managed, operated, inspected, guarded, supervised, repaired, regulated
17
     and/or secured the Subject Premises, in that said Defendants, and each of them, knew, or in the
18
     exercise of reasonable care should have known, that said Subject Premises were at all times
19
     relevant hereto in a dangerous condition and constituted an unreasonable risk of harm to Plaintiff.
20
     MARIA QUEZADA, of which Plaintiff was unaware.
21
            18.     Further, said Defendants, and each of them, negligently and carelessly failed to
22
     maintain the premises in a safe condition or warn Plaintiff, MARIA QUEZADA, of its unsafe
23
     condition, so that on the Subject Date, the Plaintiff, MARIA QUEZADA, while in the area located
24
     at the Subject Premises, due to the lack of safety measures provided by Defendants, and each of
25                                                        4


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1    them, who were, or should have been aware on the Subject Premises that was negligently and

2    carelessly owned, managed, operated, controlled, inspected, maintained, cleaned, repaired,

3    guarded, supervised, regulated and/or secured by Defendants, CARDENAS MARKETS, LLC,

4    DOES 1 to 10, inclusive and ROE CORPORATIONS 1 to 10, inclusive and each of them and/or

5    said Defendants’ and each of their, employees, contractors, representatives, agents and/or

6    servants, causing Plaintiff, MARIA QUEZADA, to suffer severe and permanent injuries and

7    damages.

8           19.     The Subject dangerous condition created a reasonably foreseeable risk of the kind

9    of injury which was incurred by Plaintiff and that Defendants, CARDENAS MARKETS, LLC,

10   DOES 1 to 10, inclusive and ROE CORPORATIONS 1 to 10, inclusive and each of them had

11   actual or constructive notice of the dangerous condition under a sufficient time, prior to the injury,

12   to protect against the dangerous condition.

13          20.     As a direct and proximate cause of said Defendants’ and each of their, negligent

14   acts and/or omissions, as alleged herein above Plaintiff, MARIA QUEZADA, suffered severe and

15   permanent physical and bodily injuries, received medical treatment for her injuries and damages,

16   and was treated for those injuries and damages by various health care providers, incurred medical,

17   hospital, other related special economic damages, as well as past, present and future general

18   damages for her pain, suffering and anguish.

19          WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them,

20   for damages as follows:

21          1.      For general damages for pain and suffering for MARIA QUEZADA in excess of

22                  $15,000.00;

23          2.      For special damages by way of medical expenses incurred by MARIA

24                  QUEZADA, in an amount in excess of $15,000.00, the exact amount of which

25                                                          5


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1                 shall be ascertained and proven at time of trial;

2          3.     For an award of reasonable attorney fees together with costs of court incurred

3                 herein;

4          4.     For pre-judgment and post-judgment interest;

5          5.     And for such other and further relief as to the Court shall seem proper.

6          DATED this 14th day of April, 2022.

7
                                                 DEAVER | CRAFTON
8
                                                 /s/ BRICE J. CRAFTON, ESQ.
9                                                _______________________
                                                 NATHAN S. DEAVER, ESQ.
10                                               Nevada Bar No. 11947
                                                 BRICE J. CRAFTON, ESQ.
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12                                               Las Vegas, NV 89104
                                                 Attorneys for Plaintiff
13

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